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               IN THE XJNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION


ERNEST T. JACKSON,


       Petitioner,

V.                                             CASE NOS. CV419-109
                                                          CR417-095
UNITED STATES OF AMERICA,

       Respondent.


                                ORDER


      Before the Court is the Magistrate Judge's May 4, 2022, Report

and Recommendation {Doc. 8),i to which Petitioner has not filed

objections. After a careful review of the record,2 the report and

recommendation (Doc. 8) is ADOPTED as the Court's opinion in this

case. As a result, this action is DISMISSED. The Clerk of Court is

DIRECTED to close this case.


      Applying the Certificate of Appealability (COA) standards set

forth in Brown v. United States, Nos. 407CV085, 403CR001, 2009 WL

307872, at *1 (S.D. Ga. Feb. 9, 2009), the Court discerns no COA-




^ Unless otherwise noted, all citations are to Petitioner's civil
docket on this Court's electronic filing system, CV419-109.
2 The Court reviews de novo a magistrate judge's findings to which
a petitioner objects, and the Court reviews for clear error the
portions of a report and recommendation to which a petitioner does
not object. 28 U.S.C. § 636(b)(1); see Merchant v. Nationwide
Recovery Serv., Inc., 440 F. Supp. 3d 1369, 1371 (N.D. Ga. 2020)
(citing Macort v. Prem, Inc., 208 F. App'x 781, 784 (11th Cir.
2006) (per curiam) (outlining the standard of review for report
and recommendations)).
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worthy issues at this stage of the litigation, so no COA should

issue    either.   28   U.S.C. § 2253(c)(1);    Rule    11(a)   of   the   Rules

Governing Section 2255 Proceedings for the United States District

Courts ("'The district court must issue or deny a certificate of

appealability      when   it   enters   a   final    order   adverse   to   the

applicant.").

        SO ORDERED this .5'"^d.v of May 2022.
                                                V«
                                    WILLIAM T. MOORE,
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN   DISTRICT OF GEORGIA
